    Case 15-20060-TLM              Doc 8 Filed 02/03/15 Entered 02/03/15 09:16:49                       Desc Income
                                     Tax Turnover Order Ch.7 Page 1 of 1
oinctx7 (Local Form OINCTX7) (01/13)
                               UNITED STATES BANKRUPTCY COURT

                                                 DISTRICT OF IDAHO


                                                               )
In Re:                                                         )
                                                               )    Case Number:       15−20060−TLM
Robert Williams Brooks III                                     )
3544 Highland Drive                                            )    Chapter Number: 7
Coeur D Alene, ID 83815                                        )
                                                               )
Social Security No.: xxx−xx−9980                               )
Employer's Tax I.D. No.:                                       )
                                                               )
                          Debtor                               )
                                                               )
Roberta Sue Brooks                                             )
3544 Highland Drive                                            )
Coeur D Alene, ID 83815                                        )
                                                               )
Social Security No.: xxx−xx−6510                               )
Employer's Tax I.D. No.:                                       )
                                                               )
                       Joint Debtor                            )
                                                               )
____________________________________________                   )

                                         INCOME TAX TURNOVER ORDER


THE DEBTORS ARE HEREBY ORDERED as follows:

FILING TAX RETURNS: You are ordered to properly file all required income and other tax returns with the Federal
Government (Internal Revenue Service), any state and other taxing authority, within the time limits provided by law.
This order shall apply to all tax years or other periods which arise during the pendency of this case. This order also
includes returns for the preceding calendar or tax year. Be advised that this order includes returns for all prior years or
periods for which returns were required but which were not filed before your bankruptcy case commenced.

COPIES OF TAX RETURNS TO TRUSTEE: You are further ordered to deliver, to the trustee in this case, signed
and dated copies of all tax returns, including any amended returns, which must be filed under and pursuant to the
preceding paragraph. Copies of tax returns shall include any corresponding Forms W−2 and 1099.

DELIVERY OF REFUNDS: You are further ordered to turn over to the trustee all income tax refunds now held or
hereafter received by you while the case is open.

LOSS OF DISCHARGE AND OTHER SANCTIONS: A willful failure to obey this order (for example a failure to
file required tax returns, failure to provide signed and dated copies of all tax returns to your trustee, or failure to turn
over all refunds) may result in a loss of your right to a bankruptcy discharge of indebtedness, dismissal of your case
without further notice to you and without hearing, and/or other possible sanctions.


THE TRUSTEE ASSIGNED to your case is:

                 J Ford Elsaesser
                 123 S Third STE 22
                 PO Box 2220
                 Sandpoint, ID 83864
                                                                    Elizabeth A Smith
Dated: 2/3/15                                                       Clerk, U.S. Bankruptcy Court
